Case 9:18-cv-80176-BB Document 963-1 Entered on FLSD Docket 04/20/2023 Page 1 of 3
Highly Confidential—Attorneys’ Eyes Only

FACT INFORMATION SHEET - INDIVIDUAL

 
Case 9:18-cv-80176-BB Document 963-1 Entered on FLSD Docket 04/20/2023 Page 2 of 3
Highly Confidential—Attorneys’ Eyes Only

YOU MUST MAIL OR DELIVER THIS COMPLETED FORM, WITH ALL ATTACH-
MENTS, TO THE JUDGMENT CREDITOR OR THE JUDGMENT CREDITOR'S
ATTORNEY, BUT DO NOT FILE THIS FORM WITH THE CLERK OF THE COURT.

 
Case 9:18-cv-80176-BB Document 963-1 Entered on FLSD Docket 04/20/2023 Page 3 of 3
Highly Confidential—Attorneys’ Eyes Only

 
